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                                        EXHIBIT A
                In re New Century TRS Holdings, Inc. Case No. Case No. 07-10416-KJC (Chap. 11)
                     Motion filed by U.S. Bank N.A. as Trustee c/o Ocwen Loan Servicing, LLC


                                       Original         Principal        Interest
Note Date           Obligors                                                        Property Address
                                       Obligee         Note Amount      Rate (in %)
                                       New Century                                  1776 Falmouth
August 11, 2005     Alinne Caldeira    Mortgage         $226,400.00       7.250     Road, Centerville,
                                       Corporation                                  MA 02632
                                       New Century                                  7422 Flores Way,
August 3, 2005      Sandra Aguilar     Mortgage         $277,015.00         6.8     Sacramento, CA
                                       Corporation                                  95822
                                       New Century                                  14220 Hatteras
August 4, 2005      Volodya Zalyan     Mortgage         $424,000.00         6.5     Street, Los Angeles,
                                       Corporation                                  CA 91401
                                       New Century                                  927 Sandra Street,
July 28, 2005       Andres Ibanez      Mortgage         $412,000.00       6.250     Los Banos, CA
                                       Corporation                                  93635
                                       New Century                                  2308 Richard Ct.,
August 2, 2005      Arianna Chavarin   Mortgage          $80,599.00        9.99     Henderson, NV
                                       Corporation                                  89014
                    Baldemar                                                        1462 Sunswept
                                       New Century
September 16,       Gonzalez and                                                    Drive, San Jacinto,
                                       Mortgage         $232,000.00       6.775
2004                Berenice                                                        CA 92582
                                       Corporation
                    Gonzalez
                    Cherryln G.        New Century                                    11101 Gardenaire
August 3, 2005      Salvador and       Mortgage         $468,000.00         6.600     Lane, Garden Grove,
                    Rommel Salvador    Corporation                                    CA 92841
                    Deborah Herrera    New Century                                    115 Darlene Road
February 27,
                    and Anthony        Mortgage          $66,400.00         7.05      SE, Rio Rancho, NM
2003
                    Herrera            Corporation                                    87124
                                       New Century                                    8011 Jamacha Road,
July 21, 2005       Eslie Rozier       Mortgage         $348,000.00         6.750     San Diego, CA
                                       Corporation                                    92114
                                       New Century                                    9555 Castleshore
July 29, 2005       Gertrude Bertiz    Mortgage         $383,200.00         6.575     Court, Elk Grove,
                                       Corporation                                    CA 95758
                    Helen Cerrillo     New Century                                    3540 South “B”
July 21, 2005       and Manny          Mortgage         $408,000.00         6.125     Street, Oxnard, CA
                    Torres             Corporation                                    93033
                                       New Century                                    7054 Azure Beach
September 24,       Jacqueline
                                       Mortgage         $236,000.00         6.775     Street, Las Vegas,
2004                Sripramong
                                       Corporation                                    Nevada 89148
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                                     Original           Principal         Interest
Note Date        Obligors                                                            Property Address
                                     Obligee           Note Amount       Rate (in %)
                 Jimmy D. Sample     New Century                                     3706 Juan Aldama
September 30,
                 and Linda M.        Mortgage              $92,400.00       7.20     Ct. SE, Rio Rancho,
2004
                 Sample              Corporation                                     NM 87124
                                     New Century                                     3511 Elm Avenue
August 3, 2005   John Bischler       Mortgage              $244,000.00     6.990     #413, Long Beach,
                                     Corporation                                     CA 90807
                                     New Century                                     1127 Emerald
                 Jorge de La Torre
July 26, 2005                        Mortgage              $231,200.00     6.800     Avenue, El Cajon,
                 and Dina Leija
                                     Corporation                                     CA 92020
                 Jose Luis           New Century                                     855 NE 6th Place,
July 28, 2005    Pagoada and         Mortgage              $199,580.00     6.875     Cape Coral, Fl
                 Blanca Calix        Corporation                                     33909
                 Joseph Anderson     New Century                                     4957 West Onyx
July 27, 2005    and Arlinda         Mortgage              $206,800.00     5.550     Avenue, Glendale,
                 Anderson            Corporation                                     AZ 85302
                                     New Century                                     308 Normandale
                 Kristina Maria
June 15, 2005                        Mortgage              $89,600.00      7.350     Avenue North,
                 Alonso
                                     Corporation                                     Orlando, FL 32835
                                     New Century                                     Lot 10 Ponderosa
September 21,    Leroy M.
                                     Mortgage              $150,000.00      8.40     Street, Pecos, NM
1999             Quintana
                                     Corporation                                     87552
                                     New Century                                     152 Beech Street,
September 24,
                 Lourdes Minier      Mortgage              $301,040.00      6.50     Yonkers, NY 10701
2004
                                     Corporation
                 Luther Miller Sr.   New Century                                       4404 Viceroy Place,
July 29, 2005    and Chandra N.      Mortgage              $448,000.00        6.50     White Plains, MD
                 Miller              Corporation                                       20695
                                     New Century                                       743 Andrea Way,
                 Luz Del Carman
August 2, 2005                       Mortgage              $388,000.00        6.285    Pittsburg, CA 94565
                 Salas
                                     Corporation
                                     New Century                                       1224 R Tamayo
June 4, 2005     Mario Dollero       Mortgage              229,600.00         8.750    Street, Calexico, CA
                                     Corporation                                       92231
                                     New Century                                       241 Clough Pond
                 Michael Kelley
June 30, 2004                        Mortgage              $201,000.00        5.95     Road, Loudon, NH
                 and Edith Kelley
                                     Corporation                                       03307
                                     Gateway                                           2314 NW Meadows
                                     Business                                          Drive, McMinnville,
                                     Bank d/b/a,                                       OR 97128
July 2, 2004     Ruth Clark                                $117,320.00        6.750
                                     Mission Hills
                                     Mortgage
                                     Bankers




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                                      Original         Principal         Interest
Note Date          Obligors                                                         Property Address
                                      Obligee         Note Amount       Rate (in %)
                                      New Century                                   270 South 18th
                   Saundra
August 2, 2005                        Mortgage            $345,600.00     6.775     Street, Richmond,
                   Richardson
                                      Corporation                                   VA 94804
                   Sharon Elaine                                                    810 Pohl Place,
                                      New Century
                   Heard-Love and                                                   Vista, CA 92083
July 23, 2005                         Mortgage            $432,000.00     5.750
                   Clarence Lindsey
                                      Corporation
                   Love
                                      New Century                                     648 Broadview
                   Theresa Y.
August 5, 2005                        Mortgage            $340,000.00        7.225    Street, Spring
                   Castillo
                                      Corporation                                     Valley, CA 91977
                                      New Century                                     129 E. Kuhuoi
                   Tu’Ineau and
October 21, 1999                      Mortgage            $153,000.00        10.5     Street, Kahului,
                   Toiata Havili
                                      Corporation                                     Hawaii 96732
                                      New Century                                     22325 SW 119
September 23,
                   Yolanda Rodas      Mortgage            $100,000.00        7.25     Avenue, Miami, FL
2004
                                      Corporation                                     33170
                                      New Century                                     1786 Noble Lane,
August 3, 2005     Dennis Bagwell     Mortgage            $332,000.00        6.450    Turlock, CA 95380
                                      Corporation
                                      New Century                                     152 Beech Street,
September 24,
                   Lourdes Minier     Mortgage            $301,040.00         6.5     Yonkers, NY 10701
2004
                                      Corporation




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